      Case 1:15-cv-04574-CBA-SJB Document 70 Filed 08/29/17 Page 1 of 2 PageID #: 453




                                                THE CITY OF NEW YORK
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                                                                                               August 29, 2017



       BY ECF
       Hon. Vera M. Scanlon, U.S.M.J.
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

               Re:      Derrick Hamilton v. City of New York, et al., 15-cv-04574 (CBA) (VMS)

       Your Honor:

                 I am Senior Counsel in the Office of Zachary W. Carter, Corporation Counsel of the
       City of New York, and I am among counsel for the City of New York, Frank DeLouisa, and
       Joseph Ponzi (hereinafter, the “City Defendants”) in the above-referenced matter. I write to
       respectfully request leave, pursuant to Local Civil Rule 1.4 and in accordance with the Clerk’s
       instruction on how to “substitute an attorney from the same law firm,”1 to withdraw as counsel of
       record for the City Defendants.

               This motion is necessary because I am leaving the New York City Law Department at the
       end of the month after which time I will have no involvement in this matter. The representation
       of the City Defendants will continue with Arthur Larkin, Esq. and Angharad Wilson, Esq. as
       attorneys of record. Both have been engaged on this matter since its filing. I expect that my
       anticipated withdrawal will have no substantive impact on the defense of the case or on any
       scheduled proceedings.

              For those reasons, I respectfully request that the Court grant leave for me to withdraw as
       counsel. I thank the Court for its time and attention to this matter.

       1
        See United States District Court, Eastern District of New York, CMECF FAQ,
       https://www.nyed.uscourts.gov/content/how-do-i-substitute-attorney-same-law-firm-case
Case 1:15-cv-04574-CBA-SJB Document 70 Filed 08/29/17 Page 2 of 2 PageID #: 454




                                                Respectfully submitted,

                                                        /s/
                                                Jeffrey Loperfido
                                                Senior Counsel
 cc:   All Counsel (by ECF)




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